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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

 JARROD JOHNSON, et al.,

              Plaintiffs,

       v.                                Civil Action No.: 4:20-cv-00008-AT

 3M COMPANY, et al.,

              Defendants.



                  DAIKIN AMERICA, INC.’S ANSWER TO
                     THIRD AMENDED COMPLAINT

      Daikin America, Inc. (“DAI”) answers and responds to Plaintiff’s Third

Amended Complaint (“Complaint”) as follows. DAI denies each allegation in the

Complaint except those expressly admitted below. This Answer is based upon

DAI’s investigation to date, and DAI reserves the right to amend this Answer if and

when new information is learned.

                            STATEMENT OF THE CASE

      1.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI

and denies that Plaintiffs are entitled to any relief from DAI. DAI lacks knowledge


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or information sufficient to form a belief about the truth of the allegations in this

paragraph directed towards others and therefore denies those allegations.


        2.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        3.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of

any allegations in this paragraph directed towards others and therefore denies those

allegations.


        4.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.




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        5.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        6.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


                            JURISDICTION AND VENUE


        7.       This paragraph sets forth legal conclusions that do not require a

response. To the extent a response is required, DAI lacks knowledge or information

sufficient to form a belief about the truth of the allegations in this paragraph and

therefore denies those allegations.


        8.       This paragraph sets forth legal conclusions that do not require a

response. This paragraph also does not appear to apply to DAI. To the extent this

paragraph or the exhibits referenced therein contain allegations against DAI, they
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are denied. DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph directed towards others and therefore

denies those allegations.


        9.       This paragraph sets forth legal conclusions that do not require a

response. This paragraph also does not appear to apply to DAI. To the extent this

paragraph contains allegations against DAI, they are denied. DAI lacks knowledge

or information sufficient to form a belief about the truth of the allegations in this

paragraph directed towards others and therefore denies those allegations.


        10.      This paragraph sets forth legal conclusions that do not require a

response. This paragraph also does not appear to apply to DAI. To the extent this

paragraph contains allegations against DAI, they are denied. DAI lacks knowledge

or information sufficient to form a belief about the truth of the allegations in this

paragraph directed towards others and therefore denies those allegations.


        11.      This paragraph does not require a response.


        12.      This paragraph sets forth legal conclusions that do not require a

response. To the extent this paragraph contains allegations against DAI, they are

denied. DAI lacks knowledge or information sufficient to form a belief about the



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truth of the allegations in this paragraph directed towards others and therefore denies

those allegations.


        13.      This paragraph sets forth legal conclusions that do not require a

response. To the extent this paragraph contains allegations against DAI, they are

denied. DAI lacks knowledge or information sufficient to form a belief about the

truth of the allegations in this paragraph directed towards others and therefore denies

those allegations.


        14.      This paragraph sets forth legal conclusions that do not require a

response. To the extent this paragraph contains allegations against DAI, they are

denied. DAI lacks knowledge or information sufficient to form a belief about the

truth of the allegations in this paragraph directed towards others and therefore denies

those allegations.


                                       PARTIES


        15.      This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.
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        16.      This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        17.      This paragraph sets forth a legal conclusion that does not require a

response.


        18.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        19.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        20.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        21.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        22.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.

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        23.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        24.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        25.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        26.      DAI admits only it is a Delaware corporation that has conducted

business in this District and has sold products to Shaw Industries. DAI otherwise

denies the allegations of this paragraph.


        27.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        28.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        29.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.




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        30.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        31.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        32.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        33.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        34.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        35.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        36.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        37.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


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        38.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        39.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        40.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        41.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        42.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        43.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        44.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        45.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


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        46.   DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        47.   DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        48.   DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        49.   DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        50.   DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


                           FACTUAL ALLEGATIONS


        51.   This paragraph does not appear to contain allegations against DAI. To

the extent any allegations in this paragraph are directed to DAI, DAI admits only

that it supplied certain products to non-DAI manufacturing facilities in or near the

Dalton, Georgia area. DAI denies any other allegations in this paragraph to the

extent directed at DAI. DAI lacks knowledge or information sufficient to form a



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belief about the remaining allegations in this paragraph and therefore denies those

allegations.


        52.    DAI admits that PFAS are man-made substances and that science has

shown certain PFAS such as PFOA and PFOS are persistent in the environment.

DAI further admits that certain PFAS have a wide variety of useful industrial,

commercial, and consumer applications. DAI denies the remaining allegations of

this paragraph as phrased. This paragraph does not appear to contain allegations

against DAI. DAI denies any allegations in this paragraph to the extent any are

directed at DAI.


        53.    DAI admits that science has shown PFOA and PFOS are persistent in

the environment. DAI denies the remaining allegations of this paragraph as phrased.

This paragraph does not appear to contain allegations against DAI. DAI denies any

allegations in this paragraph to the extent any are directed at DAI.


        54.    DAI admits that science has shown PFOA and PFOS are persistent in

the environment. DAI denies the remaining allegations of this paragraph as phrased.

This paragraph does not appear to contain allegations against DAI. DAI denies any

allegations in this paragraph to the extent any are directed at DAI.


        55.    Denied.
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        56.   DAI admits that the C8 Science Panel issued certain findings, but DAI

disputes those findings and denies that this paragraph accurately or completely states

the C8 Science Panel’s findings. DAI denies the remaining allegations of this

paragraph.


        57.   DAI admits that the C8 Science Panel issued certain findings, but DAI

disputes those findings and denies that this paragraph accurately or completely states

the C8 Science Panel’s findings. DAI denies the remaining allegations of this

paragraph.


        58.   DAI denies the allegations in this paragraph as phrased.


        59.   Denied as phrased.


        60.   DAI admits that, in 2016, EPA issued a “Drinking Water Health

Advisory” of 70 parts per trillion for combined concentration of PFOA and PFOS.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations in this paragraph and therefore denies those allegations.


        61.   DAI admits that EPA cited studies when it issued the 2016 Drinking

Water Health Advisory. DAI disputes any findings referenced in this paragraph and




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further denies this paragraph accurately or completely reflects the findings of any

such studies. DAI denies the remaining allegations of this paragraph.


        62.   DAI admits EPA issued a Drinking Water Advisory in 2016 and made

certain statements in support thereof. DAI denies this paragraph accurately or

completely reflects the statements in the referenced documents and denies the

remaining allegations in this paragraph.


        63.   DAI admits ATSDR issued the referenced report but denies this

paragraph accurately or completely reflects the statements in the related document.

DAI denies the remaining allegations in this paragraph.


        64.   DAI admits ATSDR issued the referenced report but denies this

paragraph accurately or completely reflects the statements in the related document.

DAI denies the remaining allegations in this paragraph.


        65.   DAI admits only that certain states have recommended or adopted

regulatory levels for PFOA and/or PFOS in drinking water lower than the 2016 EPA

Drinking Water Health Advisory. DAI lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations in this paragraph and

therefore denies those allegations.



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        66.    This paragraph does not appear to require a response from DAI and

instead purports to state a conclusion of law. DAI denies any allegations in this

paragraph to the extent any are directed at DAI.


        67.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        68.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        69.    This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.




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        70.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        71.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        72.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        73.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        74.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the
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allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        75.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        76.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        77.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        78.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.
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        79.    This paragraph does not appear to contain allegations against DAI.

DAI admits only that it has known that certain perfluoroalkyl substances are

persistent but otherwise denies any allegations in this paragraph directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        80.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        81.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        82.    DAI admits that EPA issued a Significant New Use Rule in 2002

relating to the manufacture of PFOS and PFOS-related precursors (which DAI never

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manufactured or used) and that the rule, as stated in the Federal Register, speaks for

itself. This paragraph otherwise does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        83.    This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        84.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        85.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the




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allegations in this paragraph directed towards others and therefore denies those

allegations.


        86.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        87.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        88.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.




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        89.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        90.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        91.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        92.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        93.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the
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allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        94.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        95.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        96.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        97.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.
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        98.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        99.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        100. Denied.


        101. This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        102. DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        103. DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


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        104. Denied.


                                   COUNT ONE
DISCHARGE OF POLLUTANTS TO SURFACE WATERS WITHOUT AN
   NPDES PERMIT IN VIOLATION OF THE CLEAN WATER ACT
                  (Defendant Dalton Utilities)
        105. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that Count One is not alleged

against DAI.


        106. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        107. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        108. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        109. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        110. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        111. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        112. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        113. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        114. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        115. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        116. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        117. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        118. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        119. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                  COUNT TWO
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
 IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON UTILITIES’
           SEWER USE RULES AND REGULATIONS, AND
                     THE CLEAN WATER ACT
      (Defendant Dalton/Whitfield Regional Solid Waste Authority)
        120. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that Count Two is not alleged

against DAI.


        121.   Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        122. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        123. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        124. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        125. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        126. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        127. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        128. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        129. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        130. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        131. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        132. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        133. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                             CLASS ALLEGATIONS
        134. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein.


        135. The first sentence of this paragraph does not require a response. DAI

denies the remainder of this paragraph.


        136. Denied.


        137. This paragraph sets forth legal conclusions that do not require a

response from DAI, although DAI denies that class treatment is appropriate.


        138. This paragraph sets forth legal conclusions that do not require a

response from DAI, although DAI denies that class treatment is appropriate.




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        139. This paragraph sets forth legal conclusions that do not require a

response from DAI, although DAI denies that class treatment is appropriate.


        140. Denied.


        141. Denied.


        142. Denied.


        143. Denied.


        144. Denied.


        145. Denied, including all subparts.


        146. Denied.


        147. Denied.


        148. Denied.


        149. Denied.


        150. Denied.


                           COUNT THREE
      WILLFUL, WANTON, RECKLESS, OR NEGLIGENT CONDUCT
                (All Defendants Except Dalton Utilities)
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        151. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that the Court dismissed

Count Three as to DAI in its September 20, 2021 Order.


        152. Count Three has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        153. Count Three has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        154. Count Three has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        155. Count Three has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




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        156. Count Three has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                                  COUNT FOUR

                            NEGLIGENCE PER SE
        (All Defendants Except Dalton Utilities, 3M, DuPont & Chemours)
        157. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that the Court dismissed

Count Four as to DAI in its September 20, 2021 Order.


        158. Count Four has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        159. Count Four has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        160. Count Four has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


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        161. Count Four has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        162. Count Four has been dismissed as to DAI; therefore, this paragraph

does not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                                  COUNT FIVE
                             PUNITIVE DAMAGES
                     (All Defendants Except Dalton Utilities)
        163. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further denies that Georgia law allows for

a stand-alone claim for “Punitive Damages.”


        164. Denied.


        165. Denied.


        166. Denied.


        167. Denied.


        168. Denied.


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        169. Denied.


        170. Denied.


        171. Denied and further denied that Plaintiffs are entitled to any relief from

DAI whatsoever.


                                    COUNT SIX
                                PUBLIC NUISANCE
        172. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein.


        173. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        174. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the




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allegations in this paragraph directed towards others and therefore denies those

allegations.


        175. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        176. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        177. Denied.


        178. Denied.


        179. Denied.


        180. Denied.



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        181. Denied.


        182. Denied.




                                 COUNT SEVEN
CLAIMS FOR ABATEMENT AND INJUNCTION OF PUBLIC NUISANCE
        183. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein.


        184. Denied.


        185. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


        186. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


        187. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.



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        188. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


        In response to the unnumbered paragraph beginning “WHEREFORE…”, DAI

denies Plaintiffs are entitled to any relief from DAI.


        WHEREFORE, DAI requests that the claims against DAI be dismissed with

prejudice, and costs and fees be taxed against Plaintiffs.


        DAI denies any and all material allegations in the Complaint that require

a response from DAI and have not been expressly admitted herein.


                                    DEFENSES
        DAI asserts the following defenses:

                                  FIRST DEFENSE
        DAI denies the material allegations of the Complaint and demands strict proof

thereof.

                                SECOND DEFENSE

        The Complaint fails to state a claim upon which relief can be granted against

DAI.

                                 THIRD DEFENSE




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        DAI asserts that it is not guilty of the matters and things alleged in the

Complaint.

                                 FOURTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

limitations, statutes of repose (including but not limited to O.C.G.A. § 51-1-11),

rules of repose, res judicata, collateral estoppel, accord and satisfaction, consent,

license, permit, acquiescence, release, laches, waiver, unclean hands, and/or

estoppel.



                                   FIFTH DEFENSE

        Plaintiffs’ claims are barred in whole or in part because DAI’s conduct was in

accordance with the applicable standards of care under all laws, regulations, industry

practice, and state-of-the-art knowledge, and the activities of DAI in accordance

with such standards were reasonable as a matter of law. DAI at all times acted

reasonably, in good faith, and with the skill, prudence, and diligence of others in the

industry at the time.

                                   SIXTH DEFENSE

        DAI asserts that Plaintiffs’ alleged damages are the result of one or more

independent, superseding, and/or intervening causes.


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                                SEVENTH DEFENSE

        DAI asserts that there is no causal relationship between its alleged actions or

conduct and plaintiffs’ alleged damages. Plaintiffs’ damages, if any, were caused

solely by the actions, omissions, or conduct of persons and/or entities for whom or

which DAI is not responsible and/or were caused by acts, omissions, conduct, and/or

factors beyond the control of DAI.

                                 EIGHTH DEFENSE

        DAI asserts that Plaintiffs’ claim for punitive damages is violative of

provisions of the United States Constitution and the Georgia Constitution. Plaintiffs’

claim for punitive damages is subject to the limitations cap, and the substantive and

legal protections, contained in O.C.G.A. § 51-12-1, et seq.

                                  NINTH DEFENSE

        Plaintiffs’ claims are preempted, in whole or in part, by the applicable federal

statutes and regulations pursuant to the Supremacy Clause of the United States

Constitution.

                                  TENTH DEFENSE

        An award of punitive damages in this case would violate the Fourth, Fifth,

Sixth, Eighth, and/or Fourteenth Amendments to the Constitution of the United




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States as well as provisions of the Georgia Constitution, on the following separate

and several grounds:

               (a)   that civil procedures pursuant to which punitive damages are

awarded may result wrongfully in a punishment by a punitive damages award after

the fact;

               (b)   that civil procedures pursuant to which punitive damages are

awarded may result in the award of joint and several judgments against multiple

defendants for different alleged acts of wrongdoing;

               (c)   that civil procedures pursuant to which punitive damages are

awarded fail to provide means for awarding separate judgments against alleged joint

tortfeasors;

               (d)   that civil procedures pursuant to which punitive damages are

awarded fail to provide a limit on the amount of the award against the defendants;

               (e)   that civil procedures pursuant to which punitive damages are

awarded fail to provide specific standards for the amount of the award of punitive

damages;

               (f)   that civil procedures pursuant to which punitive damages are

awarded fail to provide specific standards for the award of punitive damages;




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              (g)   that civil procedures pursuant to which punitive damages are

awarded permit the award of punitive damages upon satisfaction of a standard of

proof less than that applicable to the imposition of criminal sanctions;

              (h)   that civil procedures pursuant to which punitive damages are

awarded permit multiple awards of punitive damages for the same alleged act;

              (i)   that civil procedures pursuant to which punitive damages are

awarded fail to provide a clear, consistent appellate standard of review of an award

of punitive damages;

              (j)   that civil procedures pursuant to which punitive damages are

awarded permit the admission of evidence relative to the punitive damages in the

same proceeding during which liability and compensatory damages are determined;

              (k)   that standards of conduct upon which punitive damages are

awarded are vague;

              (l)   that civil procedures pursuant to which punitive damages are

awarded permit the imposition of excessive fines;

              (m)   that civil procedures pursuant to which punitive damages are

awarded permit the award of punitive damages upon satisfaction of a standard of

proof which is not heightened in relation to the standard of proof for ordinary civil

cases;


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              (n)    that civil procedures pursuant to which punitive damages are

awarded permit the imposition of arbitrary, capricious or oppressive penalties;

              (o)    that civil procedures pursuant to which punitive damages are

awarded fail to limit the discretion of the jury in the award of punitive damages.


                                ELEVENTH DEFENSE

        Plaintiffs have failed to mitigate their damages, if any.

                                TWELFTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the prior nuisance

doctrine.

                              THIRTEENTH DEFENSE

        Each plaintiff’s recovery, if any, should be barred or reduced in proportion to

each plaintiff’s own culpable conduct, including each plaintiff’s own negligence,

assumption of the risk, acquiescence, or misuse.



                              FOURTEENTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by their own contributory

negligence.




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                               FIFTEENTH DEFENSE
        Plaintiffs’ claims are barred due to the failure to join indispensable parties

(under Fed. R. Civ. P. 19) and real-parties-in-interest (under Fed. R. Civ. P. 17),

including but not limited to the City of Rome, Georgia.

                              SIXTEENTH DEFENSE

        Plaintiffs’ claimed damages are speculative, remote, and not reasonably

foreseeable.

                            SEVENTEENTH DEFENSE

        DAI denies that its conduct was in any manner negligent or wanton.

                             EIGHTEENTH DEFENSE

        DAI denies that it or any of its agents or employees breached any duty or

obligation allegedly owed to Plaintiffs.

                             NINETEENTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of

comparative fault, and to the extent that any other Defendant has settled or may in

the future settle with Plaintiffs, DAI asserts its entitlement to an appropriate credit,

setoff, or reduction of any judgment against it.




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                               TWENTIETH DEFENSE

        Plaintiffs’ claim for attorney’s fees fails because there is no contractual,

statutory, or other basis for an award of attorney’s fees in this lawsuit against DAI.

DAI further did not act in a manner that gives rise to a claim for attorneys’ fees or

expenses in this lawsuit.

                             TWENTY-FIRST DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of

prescription.

                            TWENTY-SECOND DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by lack of standing.

                             TWENTY-THIRD DEFENSE

        Plaintiffs have suffered no legally compensable present injury.

                            TWENTY-FOURTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the Public Services

Doctrine.

                             TWENTY-FIFTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrines of consent

and/or release.




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                              TWENTY-SIXTH DEFENSE

        Plaintiffs’ claims fail as improper collateral attacks on properly issued

permits.

                          TWENTY-SEVENTH DEFENSE

        Plaintiffs’ claims are barred in whole or in part because the harm is divisible

and attributable to others.

                              TWENTY-EIGHTH DEFENSE

        Plaintiffs should be required to provide a more definite statement of their

allegations as to each defendant. As currently pled, plaintiffs’ Complaint violates

the group pleading doctrine.

                              TWENTY-NINTH DEFENSE

        Plaintiffs have not suffered a concrete and particularized injury.

                                THIRTIETH DEFENSE

        DAI materially complied with all applicable federal, state, and local

permitting requirements, regulations, standards, and guidelines.

                               THIRTY-FIRST DEFENSE

        Any alleged injury or harm was not foreseeable.




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                           THIRTY-SECOND DEFENSE

        The requested injunctive relief would subject DAI to a grossly

disproportionate hardship. The requested injunctive relief would result in unlawful

interference with transportation and commerce in the waters of the U.S. Plaintiffs

are not entitled to any injunctive or equitable relief against DAI as Plaintiffs have an

adequate remedy at law.

                            THIRTY-THIRD DEFENSE

        Plaintiff’s claims are barred by the Economic Loss Doctrine.

                           THIRTY-FOURTH DEFENSE

        DAI did not owe or breach any duty to Plaintiffs.

                             THIRTY-FIFTH DEFENSE

        The proximate cause of any injury to Plaintiffs was an event or incident which

was not legally foreseeable by DAI, and therefore DAI has no legal liability for any

of Plaintiffs’ alleged damages.

                             THIRTY-SIXTH DEFENSE

        Plaintiffs’ nuisance claims fail against DAI because DAI did not have any

control over any of the conduct or cause of harm for which Plaintiffs claims to be a

nuisance.




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                           THIRTY-SEVENTH DEFENSE

        Plaintiffs’ claims are barred by the bulk supplier and sophisticated user

doctrines.

                            THIRTY-EIGHTH DEFENSE

        Plaintiffs’ claims are barred in whole or in part to the extent they seek to

impose liability based on retroactive application of laws, regulations, standards, or

guidelines.

                             THIRTY-NINTH DEFENSE

        Any recovery by Plaintiffs may be barred or reduced by the negligence, fault,

or carelessness of others for whose conduct DAI is not responsible. Any judgment

rendered against DAI in this action, under all theories of liability plead, should be

limited to the fault, if any, attributable to DAI. DAI is entitled to apportion its fault,

if any, to the fault of all other persons who are or could be responsible for any of

Plaintiffs’ damages regardless of whether such persons are parties to this action, and

regardless of whether it is ultimately shown that Plaintiffs were negligent.

                                FORTIETH DEFENSE




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        DAI may be entitled to a set-off in the event Plaintiffs received or receive

payment from any source relating to the facts and circumstances at issue in this

lawsuit.



                              FORTY-FIRST DEFENSE

        DAI did not have any duty to warn. Any such duty, if it existed, was either

not necessary or was satisfied, discharged, or unnecessary due to the knowledge of

risk by others, including Plaintiffs. The lack of or alleged inadequacy of any

warnings were also not a proximate cause of any of Plaintiffs’ injuries.

                             FORTY-SECOND DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because they have come to

the alleged nuisance.

                              FORTY-THIRD DEFENSE

        DAI denies that the requirements of Rule 23 for a litigation class have been

met and demands strict proof thereof.

                             FORTY-FOURTH DEFENSE

        Plaintiffs’ public nuisance claim fails because Plaintiffs did not suffer or incur

any special damage or special harm. Plaintiffs have not suffered or incurred any




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damage or harm different from those exercising the right common to the general

public that is the subject of the alleged interference.

                               FORTY-FIFTH DEFENSE

        Plaintiffs nuisance claim fails against DAI because DAI did not create, cause,

continue, or maintain the alleged nuisance or otherwise have control over the cause

of alleged harm.



                               FORTY-SIXTH DEFENSE

        The Court should abstain from considering Plaintiffs’ claims because of a

parallel action in state court, The City of Rome, Georgia v. 3M Company, et al., in

the Superior Court of Floyd County, Georgia, 19-CV-02405-3.

                           FORTY-SEVENTH DEFENSE

        DAI hereby adopts and incorporates the affirmative defenses set forth by its

co-defendants in this case.

                   RIGHT TO ASSERT ADDITIONAL DEFENSES

        DAI reserves the right to assert additional defenses based upon information

learned during the course of this litigation and/or through discovery in this action.



                              [Signature on Following Page]


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Dated: October 12, 2021

                                     /s/ William E. Underwood
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                     CERTIFICATE UNDER L.R. 7.1.D.

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule 5.1.C.

                                     /s/ William E. Underwood
                                     William E. Underwood
                                     Georgia Bar No. 401805




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 12, 2021, I electronically filed the

foregoing DAIKIN AMERICA, INC.’S ANSWER TO THIRD AMENDED

COMPLAINT with the Clerk of Court by using the CM/ECF system, which has

notified all counsels of record.

                                   /s/ William E. Underwood
                                   William E. Underwood
                                   Georgia Bar No. 401805




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